             Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 1 of 40 PageID #:1


      FI/1L6E D
        10  /2022
       AO 91 (Rev. 11/11) Criminal Complaint                   AUSAs Aaron Bond and Vikas Didwania
               . BRUTO    N                                                          (312) 353-5300
     THOMA.SDG
             IS T R IC T COURT
  CLERK, U.S                          UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION

       UNITED STATES OF AMERICA

                               v.
                                                         CASE NUMBER: 1:22-cr-528
XUANYU HARRY PANG, also known as
Raven


                                  CRIMINAL COMPLAINT
     I, Thomas Mata, the complainant in this case, state that the following is true to the best of
my knowledge and belief.

From in or about September 2022 to the present, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere, XUANYU HARRY PANG, also known as Raven, violated:


            Code Section                              Offense Description
     Title 18, United States Code, Section       Attempt to Provide Material Support and
     2339B                                       Resources to a Foreign Terrorist Organization

              This criminal complaint is based upon these facts:

              X Continued on the attached sheet.


                                                           Thomas Mata
                                                           Special Agent, Federal Bureau of
                                                           Investigation (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The
above-named agent provided a sworn statement attesting to the truth of the statements in the
Complaint and Affidavit by telephone.


       Date: October 16, 2022
                                                                   Judge’s signature

       City and state: Chicago, Illinois                BETH W. JANTZ, U.S. Magistrate Judge
                                                              Printed name and Title

                                                    1
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 2 of 40 PageID #:2




                                        AFFIDAVIT

        I, Thomas Mata being duly sworn, state as follows:

        1.    I am a Special Agent with the Federal Bureau of Investigation (“FBI”)

and have been so employed since approximately June 2021. I am currently assigned

to the Joint Terrorism Task Force and my responsibilities include the investigation

of criminal violations relating to international terrorism. As part of my duties as an

FBI Special Agent, I investigate criminal violations relating to terrorism offenses,

including, but not limited to, Title 18, United States Code, Sections 2332a and 2339B.

I have also participated in numerous terrorism training courses throughout my law

enforcement career.     I am familiar with and have used common methods of

investigation, including, but not limited to, visual and electronic surveillance such as

court-authorized intercepts, debriefing and questioning of witnesses and defendants,

and the use of search and arrest warrants, pen registers, and undercover agents. In

addition, I have participated in the execution of a number of search warrants and

arrests.

        2.    This affidavit is submitted in support of a criminal complaint alleging

that XUANYU HARRY PANG, also known as Raven, violated Title 18, United States

Code, Section 2339B by attempting to provide material support and resources,

namely, property and services, to a designated foreign terrorist organization, namely,

the Islamic Revolutionary Guard Corps-Quds Force (IRGC-QF) and Kata’ib Hizballah

(KH).




                                              1
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 3 of 40 PageID #:3




      3.     According to government records, PANG is a 36-year-old naturalized

U.S. citizen who was born in Changchun City, China and relocated to the United

States in June 1998. On or about February 1, 2022, PANG enlisted in the U.S. Navy

and is currently in training at the U.S. Navy’s Great Lakes Naval Station. Based on

physical surveillance and PANG’s U.S. Navy enlistment documents, PANG also

resides at the Great Lakes Naval Station in North Chicago, Illinois.

      4.     As described below, PANG attempted to provide material support and

resources to designated foreign terrorist organizations, specifically an Iraqi-based

Hizballah group acting on behalf of and at the direction of the Iranian Islamic

Revolutionary Guard Corps Quds Force (IRGC-QF) as part of a purported plot to

attack the Great Lakes Naval Station in North Chicago, Illinois. PANG was informed

that the purpose of the attack was to seek revenge for the death of IRGC General

Qasem Soleimani, who was killed in a strike conducted by the U.S. military in

January 2020. PANG provided logistical assistance, such as taking surveillance

photos and videos of the outside and inside of the base, and agreed to provide military

uniforms and a phone that could be used as a detonator for an explosive device to an

FBI confidential human source (CHS) in support of this planned attack.

      5.     Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging PANG with

attempting to provide material support and resources to a foreign terrorist

organization, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish



                                              2
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 4 of 40 PageID #:4




probable cause to believe that the defendant committed the offense alleged in the

complaint.

      6.     This affidavit is based on my personal knowledge, training, and

experience, information provided to me by other law enforcement agents, my review

of search warrant and other materials gathered during the course of the

investigation, communication captured by an FBI Online Covert Employee (OCE1),

audio and video evidence captured by an FBI confidential human source (CHS1) and

my review of publicly available information.

                    SUMMARY OF THE INVESTIGATION

      7.     As described in more detail below, OCE1 communicated online with

Individual A, an individual believed to be located in Colombia. OCE1, who was

supposedly overseas, explained that he/she needed a trusted contact in the United

States to help conduct an attack against the United States to avenge the death of

IRGC General Soleimani. As described below, to facilitate the attack, Individual A

connected OCE1 and PANG. OCE1 created a separate online persona (OCE2) posing

as an Iraqi operative who was arriving in the United States to help plan the attack.

PANG communicated online with OCE2 and agreed to in-person meetings to discuss

the plans for the attack. PANG’s in-person meetings were with CHS1, 1 who was the

in-person identity of OCE2.


1 CHS1 has been working with the FBI since approximately 2014. CHS1 has no prior
arrests/convictions or negative reporting. CHS1 is working with the FBI based on patriotism
as well as monetary benefits. CHS1 has done extensive work for the FBI beyond this case,
and the CHS1’s total compensation for work performed and the reimbursement of expenses
over the past approximately 8 years is in excess of $665,638.63.

                                                3
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 5 of 40 PageID #:5




      8.        During an in-person meeting in Chicago, CHS1 disclosed to PANG that

CHS1 was a representative of Hizballah in Iraq, which I understand to be a reference

to Kata’ib Hizballah (KH). CHS1 explained to PANG that CHS1 was planning an

attack in the United States to avenge the death of IRGC General Soleimani. In online

communications with PANG, OCE2 (using the same persona as CHS1) further

explained that IRGC members had difficulty traveling to the United States because

IRGC is a designated foreign terrorist organization (FTO). PANG agreed to help

CHS1/OCE2 plan an attack and provided photographs of the Great Lakes Naval

Station from outside and inside the base.

                                 PROBABLE CAUSE

I.    BACKGROUND ON FOREIGN TERRORIST ORGANIZATIONS

      9.        According to my training and experience, the Islamic Revolutionary

Guard Corps (“IRGC”) is a branch of Iran’s armed forces that includes a

counterintelligence directorate and a representative of the Supreme Leader of Iran.

      10.       According to my training and experience, IRGC-Quds Force (IRGC-QF)

is a branch of the IRGC that conducts unconventional warfare and intelligence

activities outside Iran, including assassinations and cyber-related attacks, among

other things.

      11.       On or about April 15, 2019, the Secretary of State, in accordance with

section 219 of the Immigration and Nationality Act, as amended, designated the

IRGC, including the Quds Force, as an FTO. To date, the IRGC and its subordinate

branch, the IRGC-QF, remain a designated FTO.



                                               4
      Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 6 of 40 PageID #:6




       12.    According to open sources, Kata’ib Hizballah (KH) is an Iraqi insurgent

group that was founded by Abu Mahdi al-Muhandis in 2007. The group has received

a significant amount of training, logistical support, and weapons from the IRGC.

       13.    As of July 2, 2009, the Secretary of State designated the KH (and other

aliases) as an FTO under Section 219 of the Immigration and Nationality Act and as

a Specially Designated Global Terrorist under Executive Order 13224. To date, the

KH remains a designated FTO.

II.    PANG’S INVOLVEMENT WITH A PLOT TO ATTACK THE UNITED
       STATES INVOLVING PURPORTED IRANIAN ACTORS

       14.    On or about April 18, 2022, the FBI obtained a forensic image of PANG’s

phone (PANG Phone 1) pursuant to a surreptitious, court-authorized search of

PANG’s phone. 2 The FBI searched the forensic image pursuant to a court-authorized

search warrant and found messages between PANG, using Communications Platform

1 3 (PANG Account 1), and Individual A.          Some of the messages found within the

forensic image of PANG Phone 1 and seized are described below. These messages



2 I believe PANG is the user of PANG Phone 1 based on the following: Based upon information

provided by the U.S. Navy, on or about February 1, 2022, PANG reported to the Great Lakes
Naval Station, in Great Lakes, Illinois. As a new recruit, PANG was required to relinquish
all personal property in his possession upon arrival, to be held under control of the U.S. Navy
until the completion of boot camp. Upon his arrival to the Great Lakes Naval Station, PANG
relinquished PANG Phone 1 to U.S. Navy personnel and PANG Phone 1 remained in the
control of U.S. Navy Recruit Training Command until approximately April 23, 2022, when
PANG completed his Navy boot camp. Law enforcement conducted its initial search of PANG
Phone 1 before the U.S. Navy returned the phone to PANG on April 23, 2022. Additionally,
when PANG enlisted in the United States Navy, he completed and submitted a Standard
Form 86 (“SF-86”) background questionnaire in which he listed the phone number for PANG
Phone 1 as belonging to him.
3 The government has masked the names of the communications platforms discussed in this

affidavit but can provide the true names upon request.

                                                  5
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 7 of 40 PageID #:7




consist of communications between PANG and Individual A related to a plan

involving Iranian actors to conduct an attack in the United States to avenge the death

of IRGC General Soleimani. These communications between PANG and Individual

A occurred before PANG was introduced to CHS1 and OCE2, and before Individual

A had contact with OCE1.

       15.    According to Communications Platform 1 messages from PANG Account

1, between approximately June 9, 2021 and June 26, 2021, PANG, using PANG

Account 1, 4 exchanged numerous Communications Platform 1 messages with

Individual A, who was utilizing a Communications Platform 1 account associated

with a Colombian phone number. 5 Based on my knowledge of the investigation and

my training and experience, and as detailed below, during the discussions between

PANG and Individual A, they discussed a variety of criminal activities, including, as

discussed below, a plot to smuggle radioactive polonium into the United States to

further an Iranian plan to conduct an attack in the United States to avenge the death

of IRGC General Soleimani.



4 I believe PANG to be the user of PANG Account 1 based on the following: During the initial

search of PANG Phone 1, law enforcement discovered PANG Account 1 within PANG Phone
1. According to Communications Platform 1, only one mobile device can be authorized to use
an account at a given time. Also, based on the search of PANG Phone 1 the phone number
for Pang Account 1 is the phone number for PANG Phone 1, which is linked to PANG as
described in footnote 1.
5 I believe Individual A is the user of the Communications Platform 1 account associated with

this Colombian phone number based upon the following: The search of the forensic image of
PANG Phone 1 revealed Communications Platform 1 messages from PANG Account 1 to a
Communications Platform 1 account associated with this same Colombian telephone number.
Law enforcement also discovered that within the contact list of the PANG Phone 1, PANG
had this phone number associated with “[name of Individual A]” (Individual A).

                                                 6
      Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 8 of 40 PageID #:8




       16.    More specifically, on or about June 9, 2021, between approximately 4:11

a.m. and 7:59 p.m., PANG, utilizing PANG Account 1, exchanged approximately 28

messages with Individual A. The exchanged messages appear below: 6

       Individual A:         Greetings let me know if you have any
                             questions.
       Pang:                 I am organizing it there are no questions yet.
       Individual A:         Ok
       Pang:                 Did you ask the Iranian [sic] about the weapons they
                             asked us to supply them.
       Individual A:         You put that their arms you want mercenaries in
                             also requests [sic].
       Pang:                 Okay.
       Individual A:         Not 10 million dollars it would be more.
       Pang:                 Perfect you will have the request tomorrow.
       Individual A:         I don’t know if you would like gold.
       Individual A:         Ok.
       Individual A:         They tell me to let you know they investigated you
                             and you are trustworthy.
       Pang:                 Let me ask [if the Iranians] have gold.
       Individual A:         Yes they can deliver the gold in an Arab country.




6 Any translations or transcripts of the messages described in this Affidavit remain in draft

form; to the extent quotations from the conversations are included, they are preliminary, not
final. Any typographical errors in quotations are in the original. The summaries of messages
in this affidavit do not include reference to all of the topics covered during the conversations.
In certain instances, I will offer my interpretations of certain messages in brackets and
otherwise. My understanding of these conversations is aided by the contents and context of
the conversations, my familiarity with the facts and circumstances of the investigation, my
experience as a law enforcement agent, my discussions with other law enforcement agents
and officers, the experience of other law enforcement agents and officers in this investigation,
and other evidence developed during the course of the investigation. Some of the messages
were in the Spanish language, including those between PANG and Individual A. For these
messages I have relied on draft English translations of the messages prepared by certified
FBI linguists. Any times listed for the messages are based on the times listed in the forensic
image of PANG Phone 1 and are approximate. Based on information obtained during the
investigation so far, is my understanding that PANG is not fluent in Spanish. According to
records produced by Apple pursuant to a 18 U.S.C. § 2703(d) order, on PANG Phone 1 were
translation applications which would have allowed PANG to translate the Spanish messages
into English and vice-versa.

                                                   7
        Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 9 of 40 PageID #:9




         Pang:                  100 [Agreement]. 7
         Pang:                  I have a connection in Pakistan if they want to move
                                gold.
         Pang:                  We can separate [the gold] and [make] that in a
                                separate deal.
         Individual A:          Excellent, I am going to ask you for gold.
         Individual A:          Yes.
         Pang:                  Ok.
         Pang:                  Let me finish what I am doing we’ll talk later.
         Individual A:          You tell me to explain that that would be the last
                                delivery of material that it will be done on your
                                route.

         17.     Based on my knowledge of the investigation and my training and

experience, I believe that in these messages PANG and Individual A discussed a plan

to smuggle weapons on behalf of Iranian buyers and to also smuggle and/or give

payment in gold.

         18.     On or about June 15, 2021, between approximately 2:41 p.m. and 2:42

p.m.,     PANG,     utilizing    PANG     Account       1,   exchanged   approximately    six

Communications Platform 1 messages with Individual A. The exchanged messages

appear below:

         Individual A:          Good morning pal how are we doing with the plan.
         Pang:                  Ready.
         Pang:                  I am sorry I had court yesterday.
         Individual A:          They [the Iranian actors] told me polonium is a
                                radioactive chemical. 8
         Pang:                  I will send it after taking my kids to school.

7 Based on my knowledge, training, and experience, as well as open sources research, I believe

that the word “100” in this context was being used in a similar fashion to the “100 emoji,”
which is utilized in digital communication to express or emphasize approval or support.
8 Based on my knowledge, training, and experience, as well as open sources research, I know

polonium is a radioactive element present in the environment. Polonium is not harmful
outside the body. However, if ingested, it is lethal in extremely small doses. In small
amounts, it also has legitimate industrial uses, mainly in devices to eliminate static
electricity.

                                                    8
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 10 of 40 PageID #:10




      Individual A:        That they want to move it [the polonium]

      19.    Based on my knowledge of the investigation and my training and

experience, I believe that in these messages PANG and Individual A discussed a plan

to smuggle polonium into the United States on behalf of the Iranian actors.

      20.    On or about January 11, 2022, between approximately 1:34 a.m. and

1:40 a.m., PANG, utilizing PANG Account 1, exchanged approximately 33

Communications Platform 1 messages with Individual A. Several of the exchanged

messages appear below:

      Individual A:        I tell you that the Iranians managed to pass the
                           radioactive polonium…And will detonate it this
                           year.
      Pang:                Ok.
      Individual A:        I will be letting you know, so you are not nearby.
      Pang:                Ok…Thank you, brother.
      Individual A:        Those gringos [Americans] are going to die. I really
                           believe they can disappear a city.
      Pang:                Yes Sir.
      Individual A:        It is serious
      Pang:                It will be of great damage.
      Individual A:        But that is how business is.
      Pang:                Yes.
      Individual A:        It is for revenge for their General [IRGC General
                           Qasem Soleimani 9].
      Pang:                It is war…That is the way it is
      Individual A:        They will not know who it was.
      Pang:                Understood.
      Individual A:        I do not know which city it will be.
      Pang:                Ask them about the business deal for the gold that
                           they wanted.


9 On or about January 2, 2020, the U.S. Department of Defense issued a public statement

regarding the death of Soleimani. The statement read, in part, “At the direction of the
President, the U.S. military has taken decisive defensive action to protect U.S. personnel
abroad by killing Qasem Soleimani, the head of the Islamic Revolutionary Guard Corps-Quds
Force, a U.S.-designated Foreign Terrorist Organization.”

                                               9
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 11 of 40 PageID #:11




      Individual A:      But it is a large capital. Distance your family from the
                         large cities.

      21.   On or about January 30, 2022, between approximately 7:58 p.m. and

8:28 p.m., PANG, utilizing PANG Account 1, exchanged approximately 40

Communications Platform 1 messages with Individual A. Several of the exchanged

messages appear below:

      Pang:              Keep in contact with Iran.
      Pang:              We will need them later.
      Individual A:      Yes, that is a fact. They [Iranians] do not want to
                         contact anyone else. They [Iranians] are very strict
                         in terms of security.
      Individual A:      They are with the “Risos” [sic] [Russians]
      Individual A:      And want vengeance against the gringos.
      Individual A:      And soon they will see part of their operation.
      Pang:              Perfect.
      Individual A:      When they detonate what they went through [sic]
      Pang:              Let me know with advance notice, that way I could
                         take my family away.
      Individual A:      They are waiting for the moments [sic] and he was
                         missing some detonators.
      Pang:              Okay.
      Individual A:      I think that it will be in the gringa capitol.
      Individual A:      He will make history that not even Bin Laden would
                         do.
      Pang:              Noted, I will keep my family far from that area.
      Pang:              Thank you, brother.
      Pang:              Not a word.
      Pang:              Promise.
      Individual A:      Ok, take care.
      Pang:              You too my brother.


      22.   Based on my knowledge of the investigation and my training and

experience, I believe that as reflected in the above messages, PANG and Individual

A continued to discuss a potential Iranian terrorist plot. Individual A referenced




                                           10
       Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 12 of 40 PageID #:12




deceased terrorist Usama Bin Laden, who was the leader of Al-Qaeda and who was

responsible for the September 11, 2001 attacks on the United States.

III.     PANG ATTEMPTS TO PROVIDE MATERIAL SUPPORT AND
         RESOURCES TO CHS1, A PURPORTED REPRESENTATIVE OF KH
         AND IRGC

         23.   On or about July 13, 2022, an FBI online covert employee (OCE1)

created an online persona for the purpose of reaching out to Individual A via social

media to gather additional information about PANG. FBI identified Individual A’s

Communications Platform 2 account through open source searches. 10 On

Communications Platform 2, Individual A used the moniker, “Jose Perez.” OCE1’s

public Communications Platform 2 profile indicated that OCE1 was an Iraqi Shia

militant group commander.          OCE1, purportedly located overseas, befriended

Individual A through Communications Platform 2 and reached out to Individual A

via the direct messages function of Communications Platform 2 (“Communications

Platform 2 Messenger”).

         24.   Between July 25, 2022 and August 20, 2022, OCE1 and Individual A

had brief communications through Communications Platform 2 Messenger. OCE1

expressed an interest in forming an alliance with Individual A and his/her group

regarding the “great Satan” (referring to the United States). The conversation then




10 I further believe that this Communications Platform 2 account is used by Individual A
based upon at least the following: During this investigation, the FBI reviewed
communications over PANG Account 1 between PANG and Individual A during which
Individual A told PANG that Individual A had sent a Communications Platform 2 “friend
request” to PANG from this same Communications Platform 2 account.

                                              11
     Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 13 of 40 PageID #:13




moved to Communications Platform 1. I know that Communications Platform 1

messages are end-to-end encrypted.

       25.   On or about August 20, 2022, the conversation between OCE1 and

Individual A moved from Communications Platform 2 Messenger to Communications

Platform 1. 11 The conversation between OCE1 and Individual A was in Spanish.

Individual A utilized a Communications Platform 1 account associated with a

Colombian telephone number. OCE1 does not speak Spanish and communicated in

real-time with Individual A by using a web-based translation tool to translate

Individual A’s Spanish messages into English and OCE1 messages into Spanish. The

messages below are as they appeared to OCE1 during the conversation through the

web-based translation tool. The conversations from August 20, 2022, appear below.

       Individual A:       Greetings     comrade,     you     sent    me     your
                           [Communications Platform 1] on [Communications
                           Platform 2], it's José Pérez [Individual A’s alias that
                           he also used for his Communications Platform 2
                           account]
       Individual A:       This way we can talk and see what we can support
       Individual A:       We have an enemy who is the Great Satan [United
                           States]
       OCE1:               thank you comrade perez I’m Hasan from
                           [Communications Platform 2], it’s time for the great
                           Satan to suffer. the great Satan, the United States
                           and its agents, the time has come... we have to
                           punish them for their crimes against our people…
       OCE1:               how can we help each other? here we sympathize
                           and support your revolution and fight for justice…
                           we need trusted comrades in the country of great

11 I believe that OCE1 was communicating with Individual A based upon at least the
following: (a) the telephone number associated with the account was a Colombian number;
and (b) the conversation picked up on Communications Platform 1 where it had left off on
Communications Platform 2 Messenger, consistent with the same individual, Individual A,
being the participant.

                                              12
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 14 of 40 PageID #:14




                         satan who can help us… we have a good network…
                         we need good comrades to help us
      Individual A:      Ok thanks comrade first you have to take care of the
                         US intelligence and the Mossad who are behind you
                         with the arrival of petro here we can control that we
                         have the men to take him to the US if necessary and
                         blow up their embassy for now the safest area for
                         meet with us is Venezuela
      Individual A:      I have a man who can monitor the US and Israeli
                         embassies and see all their movements and then
                         carry out a large-scale and global operation.
      OCE1:              very well. we are interested to contact someone in
                         the Great Satan country first, then we want to see if
                         we can send someone to Great Satan country
                         without traveling to venezuela if possible.

      26.   Based on my knowledge of the investigation and my training and

experience, I believe that during the above messages, OCE1 and Individual A

discussed a desire to attack the “Great Satan,” meaning the United States. OCE1

also requested assistance through Individual A’s U.S.-based contact. This U.S.

contact would assist OCE1’s representative in the United States to conduct the

attack.

      27.   On or about August 23, 2022, OCE1 and Individual A continued their

Communications Platform 1 conversation, which appears below.

      OCE1:              we have someone who can travel to Great Satan
                         country. He is going to need help the first two
                         months when he arrives to Great Satan country...He
                         is going to need help to set up operations and help
                         finding weapons...then after two months, we are
                         going to send two more people to help with the
                         mission.....it is important we find a trusted
                         commrade in Great Satan country who is able to
                         help us.




                                           13
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 15 of 40 PageID #:15




      Individual A:        We have a man from the ELN 12 in Grand Satan [sic]
                           who is in charge of supporting the Mexicans with
                           payments to Colombia. Due to the sensitivity of the
                           operation, I can assign a man for that operation. for
                           the weapons, there are no problems we have many
                           that the cartels give us for security. after that
                           contact we have to support them in a monetary way
                           if you are going to finance that operation we are
                           going to go in the same ship and if they achieve a
                           great operation against great Satan, we need
                           military and financial support for the organization
      Individual A:        And we can give him a house in a country area that
                           we have. That person is my trusted man. That
                           operation must be top secret and betrayal is paid for
                           with death.
      OCE1:                we are going to send members to revenge the death
                           of commander soleimani. this is a top secret mission.
                           assign a man to help us do the operation. our people
                           who are doing the operation are light brown skin, so
                           assign a man so that the americans are not going to
                           be suspicious if our men and your man are seen
                           together. we are going to finance the operation. Our
                           men speak english.

      28.    Based on my knowledge of the investigation and my training and

experience, I believe that in these messages OCE1 and Individual A continued their

discussions regarding a plan to attack the United States and how Individual A could

provide assistance to OCE1.

      29.    On or about August 25, 2022, the conversation continued between OCE1

and Individual A on Communications Platform 1 and Individual A explained that he




12 According to open sources, the ELN is a Colombian Marxist-Leninist guerilla organization

formed in 1964. The ELN’s goals are to adapt a socialist system in Colombia, eliminate
foreign investments, and achieve political status like the recently disbanded FARC. The ELN
focuses on kidnapping, extortion, illegal mining, drug trafficking, and attacks on economic
infrastructure. As of October 8, 1997, the Secretary of State designated the ELN as an FTO.
To date, the ELN remains a designated FTO.

                                               14
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 16 of 40 PageID #:16




would contact his “personal man” in the United States about providing assistance for

the plot.

       Individual A:     Ok, excellent comrade, you don’t speak Spanish and
                         I don’t speak English. If there is risk to the operation
                         then we have to close this operation. I will contact
                         my personal man and see if we have a house in large
                         cities, which city would you like and I will take care
                         of it.
       Individual A:     Steps to follow in the operation
       Individual A:     1. having the safe house ready and our man to escort
                         him, we need to talk.
       Individual A:     2. Since then we need financial support for the
                         organization
       Individual A:     3. When starting the operation we will have to delete
                         all records in the networks that involve us in the
                         organization
       Individual A:     4. We will only stay on this [Communications
                         Platform 1]
       Individual A:     5. The key to the operation will be GREAT SATAN
       Individual A:     6. Due to the sensitivity of the operation, no one from
                         the organization will contact him and if he is
                         contacted and they do not give him this secret code,
                         he is not our man.
       Individual A:     Give me the city that wants the house give me 15
                         days and let's make a call between you, me and our
                         man from great Satan
       Individual A:     Or establish your contact and communication
                         signature
       Individual A:     By achieving this operation successfully, we will be
                         a brother to support each other wherever what we
                         need most is instructors and weapons.
       Individual A:     Comrade to which organization you belong to know
                         who our alliance will be. If he doesn’t speak Spanish,
                         I have a guerrilla who speaks English to bring him
                         from the jungle.
       OCE1:             The secret code is: what is the date, January 7, 2020
       OCE1:             my organization is the shiite militia hezballah in
                         Iraq

       30.   Based on my knowledge of the investigation and my training and

experience, I believe that during the above messages OCE1 and Individual A

                                            15
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 17 of 40 PageID #:17




discussed the operational security needed to accomplish a mission of this magnitude.

In addition, the discussion led to the creation of a secret operational phrase to be used

only by Individual A’s “trusted man,” namely the question, “What is the date?” and

the response to validate, “January 7, 2020.” I believe the person who would know this

phrase would have knowledge and connections to Individual A and would be trusted

to keep the operation secret.

       31.    On or about September 6, 2022, OCE1 requested from Individual A the

Communications Platform 1 number of Individual A’s trusted person in the United

States in order to communicate with this trusted person:

OCE1:         Hello jackal [Individual A]. 13 my person will have to travel to the country
              of the Great Satan sooner than expected. My person will arrive on the
              night of September 9. my person will need the Communications
              Platform 1 number of the trusted person because, for the security of the
              operation, I will not contact him after the trip. this is very urgent, you
              need to take action now

       32.    During their communications on Communications Platform 1 between

September 10 and 11, 2022, OCE1 informed Individual A that the operative being

sent to the United States would be communicating over Communications Platform 3.

OCE1 provided Individual A the Communications Platform 3 account username and

asked Individual A to have his “trusted man” contact the operative directly through

Communications Platform 3.

       33.    As further described below, OCE1 thereafter created a separate online

persona on Communications Platform 3 (OCE2) and posed as the above-referenced


13 Individual A had informed OCE1 that Individual A would be using the moniker “chacal”

going forward. “Chacal” is the Spanish word for “jackal” and also sounds similar to “jackal.”

                                                 16
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 18 of 40 PageID #:18




Iraqi operative who was arriving in the United States on September 9, 2022. OCE1

then began to communicate with Individual A, via Communications Platform 3, 14

while posing as OCE2.

      34.    On or about September 11, 2022, OCE2 continued to receive

Communications Platform 3 messages from Individual A. Several of the messages

appear below.

      Individual A:        Hasam [referring to OCE1] gave me your
                           [Communications Platform 3] to support you in
                           Chicago
      Individual A:        Our contact will give you the key January 07, 2020
      Individual A:        At the moment there is work but he will talk to you
                           to fix your return and visit the places you want to
                           see in Chicago
      Individual A:        Hasam tells me that you will give us some money
                           after I coordinate everything with our man, we
                           would like you personally to locate a western union
                           point in Chicago and send us that money to
                           Colombia, our man does not need to know about that
                           money.
      Individual A:        [Sends a screenshot of a Communications Platform
                           3 account displaying the mobile telephone number
                           [PANG Phone 1]]
      Individual A:        That’s our contact his name is Harry
      Individual A:        I did not give him details of your operation because
                           it was top secret, I only coordinated your stay and
                           how he would take you to the places to visit. I will
                           coordinate the weapons and send it to you
      Individual A:        For the weapons and money, you will deal with me
                           this way, and I will take care of it with my contacts.


14 On or about September 9, 2022, OCE1 provided the name “abbas” for OCE2 (the Iraqi

operative arriving in the United States) and the Communications Platform 3 name of OCE2
to Individual A. On or about September 11, 2022, OCE2 received a Communications Platform
3 message from account display name “J J”. J J informed OCE2 of the code “January 07,
2020.” Individual A is the only individual OCE1 discussed this code with. Also, the
communications between this Communications Platform 3 account and OCE2 were
consistent with the previous conversations between Individual A and OCE1. Therefore, I
assess “J J” to be an account operated by Individual A.

                                              17
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 19 of 40 PageID #:19




      Individual A:      Our man already has the key and waits for you to
                         contact him
      OCE2:              This is abbas. thank you. I do not read Spanish and
                         I don’t want to use the telephone translator because
                         it is not accurate. Okay, I am going to wait on Harry
                         to contact me in Communications Platform 3
      Individual A:      I told Harry that you would contact him, you can add
                         him on [Communications Platform 3] and
                         [Communications Platform 1]

      35.   Based on my knowledge of the investigation and my training and

experience, I believe that in these messages Individual A provided OCE2 the contact

for his “trusted man” in the United States, specifically the phone number and name

of his contact “Harry.” I believe that “Harry” is XUANYU HARRY PANG. The phone

number Individual A gave for “Harry” is the same phone number as for PANG Phone

1 and PANG Account 1.

      36.   On or about September 9, 2022, OCE2 contacted “Harry” via

Communications Platform 3 messenger using the phone number Individual A gave

to OCE2.

      OCE2:        hello this is abbas. i was told to message you.
      PANG:        Hi
      OCE2:        what is the date?
      PANG:        January 07 2020 [the secret code Individual A and OCE1
                   discussed]
      OCE2:        hello harry i am happy that we are finally talking
      OCE2:        is this a good time to continue or are you busy
      PANG:        Sure we can talk
      PANG:        Am on my lunch break
      PANG:        How may I help u?
      OCE2:        i came to chicago last week and the plan was to meet you
                   but you were working.
      OCE2:        our friend said that he told you about me
      PANG:        Yeah he told me to pick u up and book a hotel for u and
                   drive u around
      PANG:        But it was very last minute

                                           18
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 20 of 40 PageID #:20




       PANG:       I didn’t have time to arrange it
       OCE2:       i understand, it was a last minute, i am trying to do my
                   best but i cant get it done by myself
       PANG:       I see
       PANG:       What do u need help with?
       PANG:       Pick u up?
       PANG:       Drive u around?
       OCE2:       yes
       PANG:       Book u a hotel?
       PANG:       When are u planning on arriving?
       PANG:       I try my best to see if I can do that for u
       OCE2:       what days of the week are you available...i understand you
                   have a job
       PANG:       Monday to Friday
       PANG:       Sometimes Saturday
       PANG:       Just depends on the shift rotation
       OCE2:       i am trying to arrange for friday saturday Sunday
       PANG:       Ok I will do my best to help u out. I will let u know the
                   dates
       OCE2:       i want the end of this week...make your arrangements and
                   if anything changes i will message you.
       PANG:       I will look into it
       PANG:       Will let u know
       OCE2:       thank you harry
       PANG:       You are welcome
       PANG:       Do u want to stay in Chicago? Or what’s ur travel plan?
                   Just so I know, so I can plan accordingly
       OCE2:       yes in chicago is best..i will give you more details soon...
       PANG:       Ok
       PANG:       I will see if I can take this weekend off
       PANG:       Will let u know
       OCE2:       very good
       PANG:       ok

       37.   Based on my knowledge of the investigation and my training and

experience, I believe that PANG is the “trusted man” of Individual A based on PANG’s

knowledge and use of the secret code phrase ––“January 07 2020”–– that was

discussed between OCE1 and Individual A that would identify Individual A’s trusted

man.



                                            19
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 21 of 40 PageID #:21




      38.    Between September 13, 2022 and September 14, 2022, PANG and OCE2

continued to communicate via Communications Platform 3 messenger regarding the

logistics of an in-person meeting:

      OCE2:         Good morning harry, I’m staying with an associate in
                    detroit and if thursday is too soon let us plan for next week
                    and i will stay here until you have a meet location ready
      PANG:         I will text u later today
      PANG:         Currently at work
      PANG:         How are u brother?
      OCE2:         I am doing fine, I will feel better once I complete what I
                    came for..I appreciate your help
      PANG:         Please tell me in detail what i can help you with
      PANG:         So this way i can prepare better
      OCE2:         for now a place to meet and then later a vehicle to see
                    different locations...
      PANG:         Understood
      PANG:         This weekend i can’t
      PANG:         But next weekend i can
      PANG:         Already talk to my boss to give me a day off
      OCE2:         when we meet, i will give you more details
      PANG:         Understood

      39.    On or about September 17, 2022, OCE2 and PANG continued to

communicate via Communications Platform 3 messenger:

      OCE2:         Hello harry, are we set for a meet?
      PANG:         Next week on sunday we can meet
      OCE2:         very good. Any special time
      PANG:         Around noon?
      OCE2:         I am available at noon
      PANG:         Ok
      PANG:         We will meet, talk and go from there
      OCE2:         yes
      PANG:         Let u know the location as we get closer
      OCE2:         The date is Sunday 25
      PANG:         So september 25th noon
      PANG:         Yes
      OCE2:         very well
      OCE2:         Did commander jackal [Individual A] message you
      PANG:         Yesterday

                                             20
   Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 22 of 40 PageID #:22




         PANG:      Just asked me about the meeting
         PANG:      That’s all
         OCE2:      good..I am going to tell commander hasan [OCE1] about
                    the date
         PANG:      Ok brother
         OCE2:      very well..see you brother
         PANG:      See you


         40.   On or about September 25, 2022, CHS1 met with law enforcement and

was equipped with an audio-recording device. CHS1 (using the same persona as

OCE2) thereafter made contact with PANG outside the Ogilvie Train Station in

downtown Chicago. The conversation began with introductions and small-talk and a

discussion about each other’s backgrounds. The conversation between PANG and

CHS1 then shifted to the reason CHS1 wanted to have the meeting. Excerpts from a

draft transcription of the audio recorded meeting between CHS1 and PANG appear

below:

         CHS1:      So, as you know they told me you are the perfect person to
                    help me with what I need to do.
         PANG:      Okay.
         CHS1:      So hopefully everything is going (UI) any problems (UI)
                    everything will be okay.
         PANG:      Okay.
         CHS1:      Yeah.
         PANG:      So, tell me what...what do you need help on?
         CHS1:      So, as you know brother, it was hard on me. I came all the
                    way down to my country. They killed my leader. Shaheed
                    Qasem Soleimani.
         PANG:      Mmm hmm.
         CHS1:      They, my people, they don’t let this go.
         PANG:      Mmm hmm.
         CHS:       Like without nothing
         PANG:      Mmm hmm.
         CHS1:      We need to revenge his death.
         PANG:      Okay



                                            21
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 23 of 40 PageID #:23




      CHS1:        So, they choose like this city ‘cause you know it’s a very big
                   city. I need from you because you are familiar with the
                   area and you are smart guy.
      PANG:        uh huh
      CHS1:        So, just like in the future, I will need some logistics stuff
                   because like two people they gonna come here. You’ve told
                   me how - what you can help me? I told you like everything’s
                   gonna appreciated.
      PANG:        Okay. I don’t know what you’re gonna need help on. That’s
                   the thing.
      CHS1:        Yeah, so for now I need like I’m just like, search around
                   (UI) I see like places. I don’t know if you can correct for
                   me, I see the Bean (UI) do something [near the Bean
                   sculpture].
      PANG:        Oh, Okay. Okay.
      CHS1:        I don’t know if you know, like places.
      PANG:        I...I...oh, I understand what (UI) see what you’re
                   talking...talking about. Okay. How big of a thing?
      CHS1:        Sorry.
      PANG:        how big of a thing?
      CHS1:        the things?
      PANG:        how big?
      CHS1:        I mean all that (UI) like (UI) operation is gonna give you
                   all the details.
      PANG:        Mmm hmm.
      CHS1:        But, I need to know what...what you can help us do
                   something (UI).
      PANG:        Logistics.
      CHS1:        Yeah.
      PANG:        I can get’ch you...I can help you get around.
      CHS1:        That’d be perfect. How about the places?
      PANG:        The places?
      PANG:        regarding the places, this...this is the part where I
                   don’t...I...I don’t know what’ch you guys have in mind or
                   what are you guys looking for. Are you guys looking for
                   like casualties?
      CHS1:        Just like..
      PANG:        or are you guys looking for like financial like…

      41.   Based on my knowledge of the investigation and my training and

experience, I believe that during the above conversation CHS1 and PANG discussed

possible locations around Chicago in which to execute an attack. At one point, PANG

                                             22
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 24 of 40 PageID #:24




wanted to confirm the intent of the attack, and asked whether the attack was meant

to inflict casualties or was a possible financial attack. Additionally, PANG was

informed that CHS1 was conducting the attack to avenge of the death of IRGC

General Qasem Soleimani.

      42.    As the conversation continued, PANG discussed the logistical measures

CHS1 should take to avoid getting captured by law enforcement. Specifically, PANG

recommended to CHS1 that CHS1 should acquire fake IDs to be used to rent different

locations within the city. PANG further informed CHS1 that PANG would be able to

procure the fake IDs for CHS1 but would need a photo of the operatives with a white

background. PANG also stated that he could conduct surveillance and check on the

security of places in and around Chicago. When CHS1 recommended the “Bean” as a

potential target within the city, PANG responded that in the city, there are a lot of

“military people,” security can get tight, and that instead of the “Bean” they should

look into events, such as festivals and food fairs. PANG also told CHS1 that PANG

would look into upcoming events.

      43.    As the conversation continued, PANG stated that the “jackal” 15

mentioned a money transfer. CHS1 affirmed where the money would be coming from

and PANG explained that in order to avoid the “fed” getting involved they should use

cryptocurrency for all money exchanges so that there is no “paper trail.”




15 As discussed in footnote 13, based on my training and experience, I believe PANG was

referencing Individual A when he mentioned the “jackal,” because Individual A informed
OCE1 that Individual A would be using the moniker “chacal” going forward. “Chacal” is the
Spanish word for “jackal” and also sounds similar to “jackal.”

                                              23
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 25 of 40 PageID #:25




      44.    The conversation then continued between CHS1 and PANG:

      CHS1:        So, what else brother (UI), do you think?
      PANG:        Mmm, that’s the...those are the three things that I can
                   think of right now. Uh, helping you wise. And the other
                   stuff, I don’t know, like I said, I don’t...I don’t know what’ch
                   you need help on as far as you...you want to secure weapons
                   or...or are you looking for?
      CHS1:        I mean if you can, of course, we need weapons.
      PANG:        Like weapons here [in the United States] or weapons there
                   [in Iraq]?
      CHS1:        Here.
      PANG:        Oh, here.
      CHS1:        Yeah.
      PANG:        I can.. I can ask around
      CHS1:        Really?
      PANG:        Yeah, I’ll ask.
      CHS1:        Will be… will be huge favor.
      PANG:        Ok, I’ll ask around.

      45.    Based on my knowledge of the investigation and my training and

experience, I understand that during the above conversation PANG offered to inquire

about finding weapons for CHS1 to help facilitate the attack in the city.

      46.    The conversation then continued between CHS1 and PANG:

      PANG:        Yeah. Uhm, got this kind of stuff. Uh, we’re not gonna talk
                   about it over...over the phone.
      CHS1:        No.
      PANG         I’m just gonna send you a (UI) oh (UI).
      CHS1:        It’s nice.
      PANG:        This...this place...this place is beautiful.
      CHS1:        Exactly.
      PANG:        You should look here.
      CHS1:        Exactly.
      PANG:        This place is beautiful. Yep. Uh...
      CHS1:        We’ll...we’ll time it exactly.
      PANG:        And then the whole operation will be referred to as, a tour
                   guide.
      CHS1:        Yeah.
      PANG:        So, I will be like oh, when does the tour start.
      CHS1:        Exactly.

                                              24
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 26 of 40 PageID #:26




      PANG:        So, we don’t even meet
      CHS1:        Yep, exactly
      PANG:        And then…
      CHS1:        So the tour, the tour coming in my (UI)
      PANG:        Then I (UI) oh, uh then...oh yeah, they need to take a fee.
                   You know...
      CHS1:        Exactly.
      PANG:        …what I mean
      CHS1:        Yep, Yep.
      CHS1:        Or even you don’t have to say the fee, say the gift.
      PANG:        Oh, okay.
      CHS1:        You need gift.
      PANG:        Okay.
      CHS1:        They need gift.
      PANG:        Okay.
      CHS1;        Uh, yeah.
      PANG:        And then I will...I’ll be like...I’ll...I’ll say something like uh,
                   for example I say for tools. These are...these are called
                   tools.
      CHS1:        By the tools you mean the weapons.
      PANG:        These are called tools. Oh yeah, the tools uhm, there you.
                   The tool…

      47.    Based on my knowledge of the investigation and my training and

experience, I believe that during the above conversation. PANG instructed CHS1 to

speak in code during their online communications and provided certain code words to

use during their communications. Later in the conversation, PANG asked CHS1 what

type of operation they were planning to conduct and whether the operation is going

to use a “tool.” PANG then made the sound effect of gun fire followed by the sound

effect of a bomb explosion and CHS1 responded that the plan was to do the first option

with a tool (guns) and PANG responded with “okay.”

      48.    During the continued conversation, PANG asked CHS1 to clarify who

CHS1 is referring to when CHS1 says “leader:”




                                               25
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 27 of 40 PageID #:27




      PANG:         When you say...when you say your leader do you mean military
                    leader or?
      CHS1:         Yeah, Qasem Soleimani, (UI) Hizballah
      PANG:         Oh, Okay
      CHS1:         So, you mentioned some military places. Is it closer from here?
      PANG:         Not that close.
      CHS1:         No?
      PANG:         Two hours.
      CHS1:         (UI).
      PANG:         Those places, impossible.
      CHS1:         Really?
      PANG:         Because the military places have this heavily...heavily guarded...
      CHS1:         Yeah.
      PANG:         ...heavily guarded. And you have only two people coming? You
                    can’t e...won’t be able to get through a gate.
      CHS1:         Yeah. You’re right.
      PANG:         So...
      CHS1:         Do you think you can do some search of these places just in case?
      PANG:         I’ll look it up.

      49.    Based on my training and experience, I believe PANG was offering to

conduct surveillance of potential places to attack and send photos of these places

based on his surveillance. CHS1 raised the possibility of a military base being a

potential attack site because PANG previously had mentioned to CHS1 that the

Chicago area contained a heavy presence of “military people.” PANG explained that

military bases are heavily guarded and would be difficult to attack but said he would

look into them.

      50.    Toward the end of the conversation, CHS1 and PANG recapped what

they had discussed, PANG agreed to take photos of different locations within the city,

and they also discussed why the “Bean” was a bad choice given the police activity in

the area at all times.




                                             26
   Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 28 of 40 PageID #:28




      51.   Following this in-person meeting between CHS1 and PANG, the online

communications with Pang via Communications Platform 3 were again taken over by

OCE2. On or about September 28, 2022, the following Communications Platform 3

messages were exchanged between OCE2 and PANG:

      OCE2:       hello brother harry
      OCE2:       I hope everything is going well
      OCE2:       did you have time to take pictures of the beautiful places
                  that my friends wants to visit
      OCE2:       They especially want pictures of the military places you
                  mentioned, they want to put it on their tour plan
      PANG:       working on it

      52.   On or about September 29, 2022, the following Communications

Platform 3 messages were exchanged between OCE2 and PANG:

      OCE2:       okay brother
      PANG:       How are u brother?
      PANG:       There are a few things I been thinking about
      PANG:       And want to talk to you about
      OCE2:       tell me what are you thinking about
      PANG:        Remember u told me that it is difficult for the tourists
                  [operatives] to visit?
      PANG:       Well why not visit Mexico first
      PANG:       And set up a business there
      PANG:       Then visit here long term
      PANG:       Meaning visiting and visiting and visiting and visiting
      PANG:       Multiple times
      OCE2:       it is an idea I can share with commander hasan, i can
                  suggest it to him. I am sure he will have many questions
      PANG:       This way they can visit and see any tourist spots
      PANG:       Over the years
      OCE2:       The plan is for one tour [attack] and leave, I don’t know if
                  he wants to do multiple tours
      PANG:       Brother to be honest
      PANG:       The tourist most likely will not be leaving after the tour
                  [meaning the attackers will be killed or arrested]
      PANG:       Simple because of the tourist spots you like
      OCE2:       the plan is to make the tour at any cost
      PANG:       Ok

                                           27
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 29 of 40 PageID #:29




      PANG:         Are u still in Chicago?
      PANG:         Want to meet and talk to u more
      OCE2:         I left
      OCE2:         when
      OCE2:         You want to meet
      PANG:         Was thinking this Saturday
      PANG:         If not, next weekend ok to
      OCE2:         Can you send me photos [of potential targets] before the
                    meet to discuss options
      PANG:         Let’s do this, this weekend I will go out to take pictures
      PANG:         And send to you
      PANG:         We meet next weekend
      OCE2:         Perfect

      53.    Based on my knowledge of the investigation and my training and

experience, I understand that during the above messages PANG and CHS1 discussed

the same plans that they spoke about during their in-person meeting in which PANG

said he would take surveillance photos of areas around the city, in particular, military

bases. In addition, I understand that during the exchange on September 29, 2022,

PANG explained that the mission has a considerable amount of risk, especially

because of the attack locations that CHS1 was focused on like the Bean and military

bases. Therefore, the operatives who were going to perform the attack should not

expect to come home. PANG asked OCE2 for another in-person meeting to discuss

the plans. PANG also agreed to take surveillance photos of potential attack sites and

proposed an in-person meeting for the following weekend.

      54.    On or about September 30, 2022, OCE2 and PANG exchanged additional

communications via Communications Platform 3 messenger:

      PANG:         Brother good morning
      PANG:         Am going to start heading out to the tourist spot this
                    evening and over the weekend
      PANG:         I have a question.

                                              28
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 30 of 40 PageID #:30




      PANG:        Will i be given the expenses that i need the traveling.
      PANG:        Cause am going to need expenses to get around
      OCE2:        good morning brother, yes all expenses will be taken care
                   of
      PANG:        Ok brother
      PANG:        Send the to me [sic] [reimbursement for expenses] through
                   bitcoins when u can.
      PANG:        I would really appreciate it.
      PANG:        In the mean while i will be heading out this evening around
                   5pm
      PANG:        I will keep u updated over the weekend
      OCE2:        very well brother
      PANG:        [photo of a QR code for a Bitcoin address]
      PANG:        Thats my bitcoin wallet
      PANG:        For the initial traveling and researching these tourist spots
                   will cost around $5000
      PANG:        Cause i need to get hotels and rent cars
      OCE2:        does that include the passports for our tourists
      PANG:        No it doesn’t
      PANG:        That part is step 2
      PANG:        This is step 1
      PANG:        Research
      OCE2:        okay brother, that is good.
      PANG:
      PANG:        This expense includes what i need to pay other contacts to
                   take pics of other tourist spots located in other major cities
                   for me.
      PANG:        Not making a profit off u
      PANG:        This is pure expense
      OCE2:        do the chicago tourists sites first
      PANG:        Thats the plan
      OCE2:        it is our main tour city
      OCE2:        cash is king and no paper trail,, ill have the 5000 at our
                   meeting next week
      PANG:         Ok

      55.    Based on my knowledge of the investigation and my training and

experience, I believe that PANG and OCE2 discussed PANG getting paid for his part

in the operation. PANG also mentioned that his efforts will be conducted in “stages,”

and that this was stage 1, “research,” meaning gathering information about potential


                                             29
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 31 of 40 PageID #:31




attack sites. According to PANG, stage 2 of the operation was obtaining fake

identification for the attackers. Physical surveillance conducted by FBI and the Navy,

did not observe PANG rent vehicles or hotel rooms in the city.

      56.    On or about September 30, 2022, OCE2 and PANG exchanged multiple

messages via Communications Platform 3 messenger:

      OCE2:        hello harry, I want you to know that our brothers in the
                   IRGC, especially the Quds forces lead by the late martyr
                   commander Solemani are very excited and they
                   appreciate your effort
      PANG:        [Thumbs up emoji.]
      PANG:        Am on the way to the spots
      PANG:        I will get there later this evening
      OCE2:        They were suppose to carry out this operation but they
                   couldn’t travel. That is why my organization the hezballah
                   in Iraq brigades stepped up on behalf of the Iranian IRGC
                   to get it done
      OCE2:        Great work brother
      OCE2:        I’m briefing my commander
      PANG:        And take the pics of the tourist spots tomorrow morning
      OCE2:        Are you traveling outside the city
      PANG:        Yep
      OCE2:        Where is the place
      PANG:        North Chicago
      OCE2:        Great,
      OCE2:        Update me when possible
      PANG:        I will update tomorrow
      OCE2:        I’ll be waiting
      PANG:        [Thumbs up emoji.]

      57.    In these messages, OCE2 explained he/she was working on behalf of two

designated foreign terrorist organizations, KH and IRGC-QF. When PANG was made

aware of the organizations with which OCE2 was notionally associated, PANG

responded with a thumbs up emoji, confirming his understanding.




                                             30
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 32 of 40 PageID #:32




      58.    On or about October 2, 2022, OCE2 and PANG exchanged multiple

messages via Communications Platform 3 messenger:

      PANG:         Brother
      PANG:         Am so tired
      PANG:         U will like what I got
      PANG:         Outside military base
                    [sends 00:00:11 seconds video]
      PANG:         No pic allowed
      PANG:         That’s the best I can do
      PANG:         Very protected
                    [sends pictures]
      PANG:         Michigan Ave
      PANG:         Super busy
                    [Sends more pictures]
      PANG:         Train station
      PANG:         Pay attention to the cameras
      PANG:         This is only this weekend
      PANG:         More next weekend
      PANG:         We talk next weekend
      OCE2:         This is great brother, great effort and great job especially
                    the military site..your continued support will help us
                    accomplish our mission to avenge the death of our
                    martyred leader Solemani and make the IRGS [sic] proud
      PANG:         Brother we will talk about everything next week
      PANG:         [sends a thirty-second video]
      PANG:         The only reason that i can walk up so close is because i have
                    friends

      [Start “secret” chat in Communications Platform 3] 16

      OCE2:         Ok

      PANG:         [Sends thumbs up emoji]
      OCE2:         I see it
      PANG:         Perfect
      OCE2:         Is this different
      OCE2::        It is still [Communications Platform 3]

16 PANG moved the communications to a “secret” chat in Communications Platform 3. A

“secret” chat in Communications Platform 3 provides additional operational security because
the messages are end-to-end encrypted whereas regular messages are not end-to-end
encrypted.

                                               31
   Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 33 of 40 PageID #:33




      PANG:       Not different
      PANG:       Is safer
      PANG:       Am about to go to work
      PANG:       We will talk later
      OCE2:       Okay , talk to you soon
      PANG:       Ok
      PANG:       Brother how are u?
      PANG:       I been thinking, i think that bitcoins would be a much
                  better option than cash. Because of the following reasons,
                  #1 it is simply not safe for me or you to be carrying that
                  much cash around. This is chicago, people gets robbed
                  everyday. #2 it is better not to have cash exchange hands
                  when we meet. Is for security purposes. #3 me or you will
                  have to explain to the police why we got that much cash on
                  us if we get stop and questioned. #4 it will be a headache
                  for me to take all that cash and try to deposit it to the bank.
                  The bank will ask questions.
      PANG:       Simply put cash will not be the best option
      PANG:       Lets do bitcoins
      PANG:       I will forward u my bitcoin wallet
      PANG:       You can have people back home deposit bitcoins into it.
      PANG:       Is easier, faster, safer and untraceable
      OCE2:        I understand, I need your help to set that up. We will
                  discuss further in the meeting. I also received late word
                  because the IRGC is designated a foreign terrorist
                  organization, one of our tourists will not be able to fly here
                  direct, I will discuss with you other options to bring him in
                  our meeting. I am going to send you a picture of the other
                  tourist who is coming in to make the id
      PANG:       Ok
      PANG:       Then for this time only i will receive cash from you
      PANG:       I will help u set it up
      PANG:       In the future only Bitcoins
      PANG:       Thanks for understanding

      59.   Based on my knowledge of the investigation and my training and

experience, during the above Communications Platform 3 conversations PANG

provided surveillance photos of downtown Chicago and video surveillance of Naval

Station Great Lakes, the U.S. Navy base in North Chicago, Illinois where PANG is

stationed and resides. After the photos were exchanged, OCE2 explained to PANG

                                            32
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 34 of 40 PageID #:34




that members of the plot to attack the United States would not be able to make the

trip because the IRGC is a designated terrorist organization. After being told of the

FTO designation, PANG responded “ok” and continued to talk about the operational

plan to use Bitcoin for future payments.

      60.    Between approximately October 3, 2022 and October 5, 2022, OCE2 and

PANG continued to communicate via Communications Platform 3 messenger. During

the communications, OCE2 asked PANG whether it was possible for PANG to acquire

a Navy uniform and a cell phone that “will be used in a test for a detonator.” PANG

responded “Brother these things take time. You are rushing in it. Let simply meet on

saturday, talk and give me the money for expenses. And we go from there.” PANG

later told OCE2, “Brother u will be happy at the meeting on saturday with what i

have to tell you. Lets talk first then talk it over with ur people.”

      61.    On or about October 8, 2022, a second in-person meeting occurred

between CHS1 and PANG at the Lake Bluff train station in Lake Bluff, Illinois near

the U.S. Navy base, Naval Station Great Lakes. CHS1 was equipped with audio/video

recording devices, which captured the meeting between CHS1 and PANG. The audio

portion was transcribed by the FBI in draft form.

      62.    After initial greetings, CHS1 and PANG discussed the future operation:

      PANG:         So the reason I picked this place
      CHS1:         yeah?
      PANG:         Do you know why I picked this place?
      CHS1:         I mean I like it because it is away from (UI)
      PANG:         Another reason… is because you are very close to the base
                    [Naval Station Great Lakes]
      CHS1:         Oh really?
      PANG:         Yeah

                                               33
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 35 of 40 PageID #:35




      CHS1:         Oh awesome man
      PANG:         That’s why I wanna meet with you here
      CHS1:         Ok
      PANG:         Just so you know whats going on
      CHS1:         Alright
      PANG:         umm
      CHS1:         So, I just wanna tell you my people they really like, these
                    two videos and they like the base.
      PANG:         The reason I (stutters) my friend took a couple of pictures
                    from inside the base for me and im really reluctant to send
                    it to you
      CHS1:         yeah, so he take from inside
      PANG:         Is because you never know who’s watching you but I’m a
                    going to show it to you.

      63.    Based on my knowledge of the investigation and my training and

experience, I believe that PANG initiated the meeting with CHS1 to discuss more

details about the plot to attack the Naval Station Great Lakes and was also aware of

the risks of sending photos of the inside of the military base. Although aware of these

risks, according to CHS1 and the recording, PANG showed photos of what appeared

to be areas inside of the U.S. Navy base to CHS1 during their in-person meeting.

      64.    Later during their conversation, PANG told CHS1 that PANG was

planning to go to Wisconsin later in the day to see a gun dealer who sells fully

automatic Glock 18Cs. A Glock 18C is a pistol that has a select fire switch to allow

the gun to function in both semi-automatic and fully automatic modes. PANG

explained that he had not yet discussed prices regarding the Glocks but stated that

if the Glocks were in good shape PANG would purchase two Glocks for the use by

CHS1 during the operation. Based on physical surveillance, I do not believe PANG

went to Wisconsin after his meeting with CHS1.




                                             34
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 36 of 40 PageID #:36




      65.    The conversation continued between CHS1 and PANG and PANG

discussed different possibilities for attacks and areas PANG believed would cause

maximum damage:

      PANG:        Michigan Avenue, Michigan Avenue is… That’s Michigan
                   Avenue, uh, the reason I took a picture of those streets is
                   because remember, like you told me like you guys are
                   looking for max damage, right?
      CHS1:        Yeah.
      PANG:        So… look at, look at, you saw the street [photos of Michigan
                   Avenue that PANG sent to OCE2]. It was packed [with lots
                   of people].
      CHS1:        Yeah, I see it was very busy. Yeah.
      PANG:        So think about it like if you have one guy just walking down
                   the street, all of a sudden [rapid firing sound].
      CHS1:        Yeah.
      PANG:        So that’s the reason I took a picture of the street.
      CHS1:        I just wanted to need to know.
      PANG:        And the reason I also took a picture of the bridge is because,
                   what… I think there’s… there’s a river.
      CHS1:        Yeah.
      PANG:        And what goes on the river - a boat. So think about it… if
                   you rent a boat, you get – you don’t have to own one, you
                   can rent one. Go on the boat, you can… the river can makes
                   it anywhere.
      CHS1:        Yeah.
      PANG:        You can go anywhere you want. Park it, get out. Do a thing.
                   Get on the boat, go somewhere else.
      CHS1:        Ok.
      PANG:        [UI] That’s the only reason I took it.

      66.    Based on my knowledge of the investigation and my training and

experience, I believe that the above during the communications between PANG and

CHS1 discussed PANG’s operational strategy and PANG advised CHS1 on which

type of an attack would cause the most damage. PANG also suggested a packed bridge

on Michigan Avenue in downtown Chicago would be a good attack target because the

attackers could use the river as a means of escape after the attack.

                                             35
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 37 of 40 PageID #:37




      67.    After the operational talk concluded, PANG asked CHS1 whether they

had brought “anything” [money] to the meeting for PANG. CHS1 related that he had

brought $3,000 dollars to pay PANG for the expenses that PANG had incurred while

completing surveillance in the city and around the Navy base. PANG accepted the

$3,000 in cash.

      68.    During the continued conversation between CHS1 and PANG, CHS1

asked multiple times whether it would be possible for PANG to acquire military

uniforms to get operatives onto the Navy base to facilitate an attack. The

conversation continued when PANG confirmed that he would acquire the uniforms

and the expected timeline:

      CHS1:        If you got it [the uniforms] today, just text me or call me.
      PANG:        Sounds good.
      CHS1:        Yeah, I told you [UI] one is my size, the other one, like
                   smaller.
      PANG:        Skinnier or shorter?
      CHS1:        Like, eh… shorter, yeah, shorter. Alright, man?
      PANG:        Alright, bro.
      CHS1:        I’m waiting for you. Alright, brother, be safe.
      PANG:        Alright. I’ll let you know later on tonight.
      CHS1:        Alright, brother.
      PANG:        Umm, the uniform I can probably make it, I’ll- I’ll try to
                   make it happen by Monday. If not, Tuesday, the latest.
      CHS1:        Ok. Just make, sure, like same uniform they wear inside.
      PANG:        Ok, yeah. You want the camouflage one?
      CHS1:        Yeah.
      PANG:        Or the, the, or the formal uniform?
      CHS1:        What they… What they wore inside.
      PANG:        What they wore inside? Ok
      CHS1:        Yeah, yeah, yeah… because I need exactly same thing. This
                   is the idea. They wearing same thing. Um, as I said don’t
                   worry about the cost, just tell me how much.
      PANG:        Ok.




                                            36
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 38 of 40 PageID #:38




      69.    Based on my knowledge of the investigation and my training and

experience, I believe that during the above conversation PANG and CHS1 confirmed

a timeline in which PANG would provide two Navy uniforms for the purpose of

allowing the two operatives to wear them, obtain entry onto the Navy base, and

conduct an attack. Through PANG’s enlistment as a sailor, I believe PANG has direct

access to purchase uniforms at any time on base and also possesses multiple

uniforms.

      70.    During the in-person meeting between CHS1 and PANG, PANG showed

CHS1 photos on PANG’s phone. According to CHS1, these photos appeared to be of

locations inside a military base.

      71.    On or about October 9, 2022, OCE2 and PANG communicated again via

Communications Platform 3 messenger. Their exchanged messages appear below.

      PANG:         Brother I think I found a solution to the uniform issue
      OCE2:         I know you will. Send me what you have showed me yesterday on
                    your phone from the inside [of the military base]. I'm still waiting
      PANG:          Ok.
      PANG:         This afternoon.
      PANG:         Am with someone at the moment
      OCE2:         Okay brother, I need it today
      PANG:         Ok
                    [PANG sends 9 photos]
      OCE2:         brother what is the solution to the uniform issue
      OCE2:         my commander like the pictures that you sent , he said we are
                    moving forward with the plan
      OCE2:         what do you think the solution to the tools issue?
      PANG:         Tell u later today
      OCE2:         Ok
      OCE2:         and don't forget the phone harry
      OCE2:         harry do you have any updates
      PANG:         Working on it
      PANG:         Let u know in the morning



                                             37
    Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 39 of 40 PageID #:39




      72.    Based on my knowledge of the investigation and my training and

experience, I believe that during this exchange between PANG and OCE2, PANG

sent OCE2 restricted photos of the Navy base. Signs posted around the military base

state that photography is prohibited. I have reviewed the photos and recognize them

as depicting areas inside the Navy base, including the inside of a barracks, the

exterior of the executive leadership offices, an interior view of the security gate and

guards, classroom buildings, and the athletic field. PANG sent these photos to OCE2

in the context of discussions about a plan to attack the Navy base using uniforms

provided by PANG on behalf of KH and IRGC-QF to avenge the death of IRGC

General Soleimani.

      73.    On or about October 15, 2022, a third in-person meeting occurred

between CHS1 and PANG at the Lake Bluff train station in Lake Bluff, Illinois near

the U.S. Navy base, Naval Station Great Lakes. CHS1 was equipped with audio/video

recording devices, which captured the meeting between CHS1 and PANG. During the

recorded meeting, PANG and CHS1 continued their conversation regarding the

purported plot by Iranian actors to attack the base at Naval Station Great Lakes. In

accordance with their previous communications described above, PANG gave CHS1

two U.S. military uniforms and a cell phone. As noted above in paragraph 60, OCE2

had asked PANG to acquire a cell phone that “will be used in a test for a detonator.”

During the October 15 meeting, when PANG provided the cell phone, he stated words

to the effect of PANG did not know what CHS1 wanted to do with it but that CHS1

could figure it out. CHS1 responded regarding the phone that his “people” would take



                                             38
      Case: 1:22-cr-00528 Document #: 1 Filed: 10/16/22 Page 40 of 40 PageID #:40




care of it. Additionally, as described above, PANG and CHS1 discussed PANG

purchasing guns if they were in good shape. PANG explained to CHS1 that he had

tested a gun but that it jammed. Based on the investigation to date, I am not aware

of PANG visiting gun dealers or test-firing guns. Towards the end of the meeting,

CHS1 gave PANG $2,000 in cash and informed PANG that the remaining payments

would be paid through Bitcoin.

IV.     CONCLUSION

        74.   For the reasons stated herein, there is probable cause to find that PANG

attempted to provide material support and resources to a designated foreign terrorist

organization, namely IRGC-QF and KH, in violation of Title 18, United States Code,

Section 2339B.



                                        FURTHER AFFIANT SAYETH NOT.




                                        Thomas Mata
                                        Special Agent, Federal Bureau of
                                        Investigation


SUBSCRIBED AND SWORN to by telephone on October 16, 2022.




Honorable BETH W. JANTZ
United States Magistrate Judge




                                             39
